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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                    8:16CR187
       vs.                                   )
                                             )                     ORDER
TEARA LYNNE VORIS,                           )
                                             )
                     Defendant.              )



      This matter is before the court on defendant's MOTION TO EXTEND DEADLINE
FOR FILING OF PRETRIAL MOTIONS [28]. For good cause shown, I find that the motion
should be granted. Pretrial Motions shall be filed by August 9, 2016.

       IT IS ORDERED:

     1.   Defendant's MOTION TO EXTEND DEADLINE FOR FILING OF PRETRIAL
MOTIONS [28] is granted. Pretrial motions shall be filed on or before August 9, 2016.

       2.       The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between July 27, 2016 and August
9, 2016, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel required additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 27th day of July, 2016.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
